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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:                                                          Chapter 11

    FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

             Debtors.                                               (Jointly Administered)

    ALAMEDA RESEARCH LLC, FTX
    TRADING LTD., WEST REALM SHIRES,
    INC., AND WEST REALM SHIRES
    SERVICES INC. (D/B/A FTX.US),

             Plaintiffs,

             v.                                                     Adv. Pro. No. 23-50419 (JTD)

    DANIEL FRIEDBERG,

             Defendant.


    FTX TRADING LTD., ALAMEDA RESEARCH
    LTD., WEST REALM SHIRES, INC., WEST
    REALM SHIRES SERVICES, INC., and
    NORTH DIMENSION INC.,

                                        Plaintiffs,
                                                                    Adv. Pro. No. 24-50066 (JTD)
                             - against -

    CENTER FOR APPLIED RATIONALITY,
    LIGHTCONE INFRASTRUCTURE, INC.,
    LIGHTCONE ROSE GARDEN LLC and FTX
    FOUNDATION,

                                       Defendants.




1      The last four digits of FTX Trading Ltd.’s FTX Trading Ltd.’s and Alameda Research LLC’s tax identification
       number are 3288 and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 cases, a
       complete list of the Debtors and the last four digits of their federal tax identification numbers is not provided
       herein. A complete list of such information may be obtained on the website of the Debtors’ claims and noticing
       agent at https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity
       Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.

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FTX TRADING LTD., et al.,

                                Plaintiffs,

                        -against-

ALEXANDER CHERNYAVSKY, BRANDON
ORR, CHUKWUDOZIE EZEOKOLI, EDWIN                        Adv. Pro. No. 24-50072 (JTD)
GARRISON, GREGG PODALSKY, JULIE
PAPADAKIS, KYLE RUPPRECHT, LEANDRO
CABO, MICHAEL LIVIERATOS, MICHAEL
NORRIS, RYAN HENDERSON, SHENGYUN
HUANG, SUNIL KAVURI, VIJETH SHETTY,
VITOR VOZZA, and WARREN WINTER,

                                Defendants.

 ALAMEDA RESEARCH LTD., WEST REALM
 SHIRES, INC., and WEST REALM SHIRES
 SERVICES, INC.

                                   Plaintiffs,

                       -against-                        Adv. Pro. No. 23-50379 (JTD)
 ROCKET INTERNET CAPITAL PARTNERS II
 SCS, ROCKET INTERNET CAPITAL
 PARTNERS (EURO) II SCS, GFC GLOBAL
 FOUNDERS CAPITAL GMBH, GFC GLOBAL
 FOUNDERS CAPITAL GMBH & CO.
 BETEILIGUNGS KG NR. 1, WILLIAM
 HOCKEY LIVING TRUST, and 9YARDS
 CAPITAL INVESTMENTS II LP,

                                   Defendants.

 ALAMEDA RESEARCH LTD., WEST REALM
 SHIRES, INC., and WEST REALM SHIRES
 SERVICES, INC.,

                                   Plaintiffs,
                       - against -
                                                        Adv. Pro. No. 23-50380 (JTD)
 MICHAEL GILES, et al.,
                                   Defendants.



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ALAMEDA RESEARCH LTD. and FTX
TRADING LTD.,

         Plaintiffs,

                       - against -
                                                        Adv. Pro. No. 23-50444 (JTD)
PLATFORM LIFE SCIENCES INC., LUMEN
BIOSCIENCE, INC., GREENLIGHT
BIOSCIENCES HOLDINGS, PBC,
RIBOSCIENCE LLC, GENETIC NETWORKS
LLC, 4J THERAPEUTICS INC., LATONA
BIOSCIENCES GROUP, FTX FOUNDATION,
SAMUEL BANKMAN-FRIED, ROSS
RHEINGANS-YOO, and NICHOLAS
BECKSTEAD,

         Defendants.

              NOTICE OF AGENDA FOR HEARING SCHEDULED FOR
      SEPTEMBER 12, 2024 AT 1:00 P.M. (ET), BEFORE THE HONORABLE JOHN T.
     DORSEY AT THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT
      OF DELAWARE, LOCATED AT 824 NORTH MARKET STREET, 5TH FLOOR,
              COURTROOM NO. 5, WILMINGTON, DELAWARE 19801

         ALL PARTICIPANTS, INCLUDING ATTORNEYS INTENDING
   TO PRESENT AT THE HEARING AND WITNESSES, MUST BE PHYSICALLY
   PRESENT IN THE COURTROOM. ANY NON-PARTICIPANT MAY OBSERVE
THE HEARING REMOTELY BY REGISTERING IN ADVANCE AT THE LINK BELOW
          NO LATER THAN SEPTEMBER 11, 2024 AT 4:00 P.M. (ET).

 To attend this hearing remotely, please register using the eCourt Appearances tool on the
                         Court’s website at www.deb.uscourts.gov.


ADJOURNED MATTERS:

1.       Notice of Pretrial Conference in an Adversary Proceeding [Alameda Research LLC, et al.
         v. Friedberg, Adv. No. 23-50419 (JTD) – Adv. D.I. 7, filed on July 26, 2023]

         Status: This matter is adjourned to a date to be determined.

2.       Notice of Pretrial Conference in Adversary Proceeding [FTX Trading Ltd., et al. v. Center
         for Applied Rationality, et al., Adv. No. 24-50066 (JTD) – Adv. D.I. 3, filed on May 17,
         2024]

         Status: This matter is adjourned to a date to be determined.


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3.       Notice of Pretrial Conference in Adversary Proceeding [FTX Trading Ltd., et al., v.
         Chernyavsky, et al., Adv. No. 24-50072 (JTD) – Adv. D.I. 8, filed on June 26, 2024]

         Status: This matter is adjourned to the October 22, 2024 Omnibus Hearing.

4.       Debtors’ Objection to Proof of Claim Filed by Ross Rheingans-Yoo [D.I. 3409, filed on
         October 30, 2023]

         Status: This matter is adjourned to the December 12, 2024 Omnibus Hearing.

5.       Motion of Olympus Peak Trade Claims Opportunities Fund I Non-ECI Master LP to
         Require Debtors’ Claims and Noticing Agent to Recognize and Record Transfer of Claim
         to Olympus Peak Trade Claims Opportunities Fund I Non-ECI Master LP [D.I. 9289, filed
         on March 13, 2024]

         Status: This matter is adjourned to the October 22, 2024 Omnibus Hearing.

6.       Debtors’ Objection to Proofs of Claim Filed by the Joint Liquidators of Three Arrows
         Capital Ltd. [D.I. 19797, filed on July 8, 2024]

         Status: This matter is adjourned to the October 22, 2024 Omnibus Hearing.

7.       Debtors’ Objection to Proof of Claim Filed by SC30, Inc. [D.I. 19971, filed on July 10,
         2024]

         Status: This matter is adjourned to the October 22, 2024 Omnibus Hearing.

8.       Debtors’ Objection to Proofs of Claim Filed by Cal Bears Sports Properties, LLC
         [D.I. 19975, filed on July 10, 2024]

         Status: This matter is adjourned to the November 20, 2024 Omnibus Hearing.

9.       Debtors’ Objection to Proof of Claim Filed by ICC Business Corporation FZ LLC
         [D.I. 20007 & 21731, filed on July 10 & 26, 2024]

         Status: This matter is adjourned to the October 22, 2024 Omnibus Hearing.

10.      Debtors’ Objection to Proofs of Claim Filed by North Field Technology Ltd. [D.I. 20017,
         filed on July 10, 2024]

         Status: This matter is adjourned to a date to be agreed by the Debtors and North Field
         Technology Ltd.

11.      Debtors’ Objection to Proofs of Claim Filed by Tai Mo Shan Limited [D.I. 20030, filed on
         July 10, 2024]

         Status: This matter is adjourned to a date to be determined.

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12.      Debtors’ Objection to Proofs of Claim Filed by Alex Mashinsky and Krissy Meehan
         [D.I. 20044, filed on July 10, 2024]

         Status: This matter is adjourned to the October 22, 2024 Omnibus Hearing.

WITHDRAWN MATTER:

13.      Motion of Robert J. Cleary as the Examiner for Entry of an Order Authorizing and
         Directing Examination Under Oath of Lynn Nguyen [D.I. 24014, filed on August 29, 2024]

         Status: This matter has been withdrawn.

RESOLVED MATTERS:

14.      Sixth Motion of Debtors for Entry of an Order Extending Deadline to File a Complaint to
         Determine Dischargeability of Certain Debts [D.I. 23135, filed on August 15, 2024]

         Status: On September 3, 2024, the Court entered an order granting the requested relief.
         Accordingly, a hearing regarding this matter is not required.

15.      Debtors’ Forty-Third (Non-Substantive) Omnibus Objection to Certain Superseded Claims
         (Customer Claims) [D.I. 17629 & 17641, filed on June 14, 2024]

         Status: The omnibus claim objection is being adjourned as it relates to certain claims for
         which the Debtors received responses. The Debtors intend to file a revised form of order
         to reflect such adjournments under certification of counsel prior to the hearing.
         Accordingly, a hearing regarding this matter is not required unless the Court has questions.

16.      Debtors’ Forty-Fourth (Non-Substantive) Omnibus Objection to Certain Superseded
         Claims (Customer Claims) [D.I. 17630 & 17642, filed on June 14, 2024]

         Status: The omnibus claim objection is being adjourned as it relates to certain claims for
         which the Debtors received responses. The Debtors intend to file a revised form of order
         to reflect such adjournments under certification of counsel prior to the hearing.
         Accordingly, a hearing regarding this matter is not required unless the Court has questions.

17.      Debtors’ Forty-Fifth (Substantive) Omnibus Objection to Certain Overstated and/or
         Unliquidated Proofs of Claim (Customer Claims) [D.I. 17631 & 17643, filed on June 14,
         2024]

         Status: The omnibus claim objection is being adjourned as it relates to certain claims for
         which the Debtors received responses. The Debtors intend to file a revised form of order
         to reflect such adjournments under certification of counsel prior to the hearing.
         Accordingly, a hearing regarding this matter is not required unless the Court has questions.




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18.      Debtors’ Forty-Sixth (Substantive) Omnibus Objection to Certain Overstated and/or
         Unliquidated Proofs of Claim (Customer Claims) [D.I. 17632 & 17644, filed on June 14,
         2024]

         Status: The Debtors intend to file a certificate of no objection and submit an order for
         entry. Accordingly, a hearing regarding this matter is not required unless the Court has
         questions.

19.      Debtors’ Forty-Seventh (Non-Substantive) Omnibus Objection to Certain No Liability
         Proofs of Claim (Customer Claims) [D.I. 17633 & 17645, filed on June 14, 2024]

         Status: The omnibus claim objection is being adjourned as it relates to certain claims for
         which the Debtors received responses. The Debtors intend to file a revised form of order
         to reflect such adjournments under certification of counsel prior to the hearing.
         Accordingly, a hearing regarding this matter is not required unless the Court has questions.

20.      Debtors’ Forty-Eighth (Substantive) Omnibus Objection to Certain Overstated and/or
         Partially Unliquidated Proofs of Claim (Customer Claims) [D.I. 17634 & 17646, filed on
         June 14, 2024]

         Status: The omnibus claim objection is being adjourned as it relates to certain claims for
         which the Debtors received responses. The Debtors intend to file a revised form of order
         to reflect such adjournments under certification of counsel prior to the hearing.
         Accordingly, a hearing regarding this matter is not required unless the Court has questions.

21.      Debtors’ Forty-Ninth (Substantive) Omnibus Objection to Certain Overstated and/or
         Partially Unliquidated Proofs of Claim (Customer Claims) [D.I. 17635 & 17647, filed on
         June 14, 2024]

         Status: The Debtors intend to file a certificate of no objection and submit an order for
         entry. Accordingly, a hearing regarding this matter is not required unless the Court has
         questions.

22.      Debtors’ Fiftieth (Non-Substantive) Omnibus Objection to Certain Claims Filed Against
         the Incorrect Debtor (Customer Claims) [D.I. 17636 & 17648, filed on June 14, 2024]

         Status: The omnibus claim objection is being adjourned as it relates to certain claims for
         which the Debtors received responses. The Debtors intend to file a revised form of order
         to reflect such adjournments under certification of counsel prior to the hearing.
         Accordingly, a hearing regarding this matter is not required unless the Court has questions.

23.      Debtors’ Fifty-First (Substantive) Omnibus Objection to Certain Duplicate Proofs of Claim
         (Customer Claims) [D.I. 17637 & 17649, filed on June 14, 2024]

         Status: The Debtors intend to file a certificate of no objection and submit an order for
         entry. Accordingly, a hearing regarding this matter is not required unless the Court has
         questions.

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24.      Debtors’ Fifty-Second (Non-Substantive) Omnibus Objection to Certain Superseded
         Claims (Customer Claims) Debtors’ Fifty-Second [D.I. 17638 & 17650, filed on June 14,
         2024]

         Status: The Debtors intend to file a certificate of no objection and submit an order for
         entry. Accordingly, a hearing regarding this matter is not required unless the Court has
         questions.

25.      Debtors’ Fifty-Third (Substantive) Omnibus Objection to Certain Overstated and/or
         Unliquidated Proofs of Claim (Customer Claims) [D.I. 17639 & 17651, filed on June 14,
         2024]

         Status: The omnibus claim objection is being adjourned as it relates to certain claims for
         which the Debtors received responses. The Debtors intend to file a revised form of order
         to reflect such adjournments under certification of counsel prior to the hearing.
         Accordingly, a hearing regarding this matter is not required unless the Court has questions.

26.      Debtors’ Fifty-Fourth (Non-Substantive) Omnibus Objection to Certain Superseded
         Claims (Customer Claims) [D.I. 19174 & 19183, filed on July 1, 2024]

         Status: The omnibus claim objection is being adjourned as it relates to certain claims for
         which the Debtors received responses. The Debtors intend to file a revised form of order
         to reflect such adjournments under certification of counsel prior to the hearing.
         Accordingly, a hearing regarding this matter is not required unless the Court has questions.

27.      Debtors’ Fifty-Fifth (Substantive) Omnibus Objection to Certain Duplicate Proofs of
         Claim (Customer Claims) [D.I. 19175 & 19184, filed on July 1, 2024]

         Status: The omnibus claim objection is being adjourned as it relates to certain claims for
         which the Debtors received responses. The Debtors intend to file a revised form of order
         to reflect such adjournments under certification of counsel prior to the hearing.
         Accordingly, a hearing regarding this matter is not required unless the Court has questions.

28.      Debtors’ Fifty-Sixth (Substantive) Omnibus Objection to Certain Overstated and/or
         Unliquidated Proofs of Claim (Customer Claims) [D.I. 19176 & 19185, filed on July 1,
         2024]

         Status: The omnibus claim objection is being adjourned as it relates to certain claims for
         which the Debtors received responses. The Debtors intend to file a revised form of order
         to reflect such adjournments under certification of counsel prior to the hearing.
         Accordingly, a hearing regarding this matter is not required unless the Court has questions.

29.      Debtors’ Fifty-Seventh (Non-Substantive) Omnibus Objection to Certain No Liability
         Proofs of Claim (Customer and Non-Customer Claims) [D.I. 19177 & 19186, filed on July
         1, 2024]



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         Status: The omnibus claim objection is being adjourned as it relates to certain claims for
         which the Debtors received responses. The Debtors intend to file a revised form of order
         to reflect such adjournments under certification of counsel prior to the hearing.
         Accordingly, a hearing regarding this matter is not required unless the Court has questions.

30.      Debtors’ Fifty-Eighth (Non-Substantive) Omnibus Objection to Certain Claims Filed
         Against the Incorrect Debtor [D.I. 19178 & 19187, filed on July 1, 2024]

         Status: The Debtors intend to file a certificate of no objection and submit an order for
         entry. Accordingly, a hearing regarding this matter is not required unless the Court has
         questions.

31.      Debtors’ Fifty-Ninth (Substantive) Omnibus Objection to Certain Overstated and/or
         Unliquidated Proofs of Claim (Customer Claims) [D.I. 19179 & 19188, filed on July 1,
         2024]

         Status: The Debtors intend to file a certificate of no objection and submit an order for
         entry. Accordingly, a hearing regarding this matter is not required unless the Court has
         questions.

32.      Debtors’ Sixtieth (Substantive) Omnibus Objection to Certain Overstated Proofs of Claim
         (Customer Claims) [D.I. 19180 & 19189, filed on July 1, 2024]

         Status: The Debtors intend to file a certificate of no objection and submit an order for
         entry. Accordingly, a hearing regarding this matter is not required unless the Court has
         questions.

33.      Debtors’ Sixty-First (Non-Substantive) Omnibus Objection to Certain Superseded Claims
         (Customer Claims) [D.I. 19181 & 19190, filed on July 1, 2024]

         Status: The Debtors intend to file a certificate of no objection and submit an order for
         entry. Accordingly, a hearing regarding this matter is not required unless the Court has
         questions.

34.      Debtors’ Sixty-Second (Substantive) Omnibus Objection to Certain Duplicate Proofs of
         Claim (Customer Claims) [D.I. 19182 & 19191, filed on July 1, 2024]

         Status: The Debtors intend to file a certificate of no objection and submit an order for
         entry. Accordingly, a hearing regarding this matter is not required unless the Court has
         questions.

35.      Debtors’ Objection to Proof of Claim Filed by IPV FTX Co-Invest [D.I. 20042, filed on
         July 10, 2024]

         Status: On August 27, 2024, the Court entered an order granting the related relief.
         Accordingly, a hearing regarding this matter is not required.



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36.      Debtors’ Sixty-Third (Substantive) Omnibus Objection to Certain Misclassified Claims
         (Non-Customer Claims) [D.I. 20050, filed on July 10, 2024]

         Status: The omnibus claim objection as it relates to the claims filed by Celsius Network
         LLC and its affiliated debtors is adjourned to the omnibus hearing scheduled for October
         22, 2024. A revised order with respect to all other claims was submitted under certification
         for entry. Accordingly, a hearing regarding this matter is not required unless the Court has
         questions.

MATTERS GOING FORWARD:

37.      The Celsius Litigation Administrator’s Motion for Relief from the Automatic Stay
         [D.I. 16815, filed on June 5, 2024]

         Response Deadline: June 18, 2024 at 4:00 p.m. (ET); extended to July 8, 2024 at 4:00 p.m.
         (ET) for the Debtors’ and FTX Digital Markets’

         Responses Received:

         A.       Debtors’ Objection to the Celsius Litigation Administrator’s Motion for Relief
                  from the Automatic Stay [D.I. 19792, filed on July 8, 2024]

         B.       The Official Committee of Unsecured Creditors’ Joinder to the Debtors’ Objection
                  to the Celsius Litigation Administrator’s Motion for Relief from the Automatic
                  Stay [D.I. 20291, filed on July 12, 2024]

         Related Documents:

         A.       [SEALED] Declaration of Kenneth Ehrler in Support of the Celsius Litigation
                  Administrator’s Motion for Relief from the Automatic Stay [D.I. 16819, filed on
                  June 5, 2024]

         B.       [REDACTED] Declaration of Kenneth Ehrler in Support of the Celsius Litigation
                  Administrator’s Motion for Relief from the Automatic Stay [D.I. 17181, filed on
                  June 10, 2024]

         C.       Order Approving Tolling Agreement [D.I. 19105, filed on June 27, 2024]

         D.       Amended Notice of Motion of the Celsius Litigation Administrator’s Motion for
                  Relief from the Automatic Stay [D.I. 19154, filed on June 28, 2024]

         E.       Amended Notice of Motion of the Celsius Litigation Administrator’s Motion for
                  Relief from the Automatic Stay [D.I. 20340, filed on July 12, 2024]

         F.       The Celsius Litigation Administrator’s Reply in Further Support of the Motion for
                  Relief from the Automatic Stay [D.I. 24212, filed on September 4, 2024]



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         G.       [SEALED] Notice Regarding Exhibits to Declaration of Kenneth Ehrler in Support
                  of the Celsius Litigation Administrator’s Motion for Relief from the Automatic
                  Stay [D.I. 24318, filed on September 6, 2024]

         H.       [REDACTED] Notice Regarding Exhibits to Declaration of Kenneth Ehrler in
                  Support of the Celsius Litigation Administrator’s Motion for Relief from the
                  Automatic Stay [D.I. 24319, filed on September 6, 2024]

         Status: This matter is going forward.

38.      The Celsius Litigation Administrator’s Motion for Entry of an Order for Authority to File
         Under Seal the Transfer Schedules Containing Confidential Information [D.I. 17182, filed
         on June 10, 2024]

         Response Deadline: June 18, 2024 at 4:00 p.m. (ET).

         Responses Received:

         A.       Media Intervenor’s Objections to the Celsius Administrator’s Motion for Entry of
                  an Order for Authority to File Under Seal the Transfer Schedules Containing
                  Confidential Information [D.I. 17830, filed on June 18, 2024]

         B.       United States Trustee’s Objection to and Reservation of Rights with Respect to
                  the Celsius Litigation Administrator’s Motion for Entry of an Order for Authority
                  to File Under Seal the Transfer Schedules Containing Confidential Information
                  [D.I. 24215, filed on September 4, 2024]

         Related Documents:

         A.       Amended Notice of the Celsius Litigation Administrator’s Motion for Entry of an
                  Order for Authority to File Under Seal the Transfer Schedules Containing
                  Confidential Information [D.I. 19155, filed on June 28, 2024]

         B.       Amended Notice of the Celsius Litigation Administrator’s Motion for Entry of an
                  Order for Authority to File Under Seal the Transfer Schedules Containing
                  Confidential Information [D.I. 20341, filed on July 12, 2024]

         C.       The Celsius Litigation Administrator’s Reply in Further Support of the Celsius
                  Litigation Administrator’s Motion for Entry of an Order for Authority to File Under
                  Seal the Transfer Schedules Containing Confidential Information [D.I. 24399, filed
                  on September 9, 2024]

         D.       Statement of the Debtors in Support of the Celsius Litigation Administrator’s
                  Motion for Entry of an Order for Authority to File Under Seal the Transfer
                  Schedules Containing Confidential Information [D.I. 24458, filed on September 10,
                  2024]



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         Status: This matter is going forward.

39.      Debtors’ Objection to Proofs of Claim Filed by Celsius Network LLC and Its Affiliated
         Debtors [D.I. 19795, filed on July 8, 2024]

         Response Deadline: August 12, 2024 at 4:00 p.m. (ET)

         Responses Received:

         A.       The Celsius Litigation Administrator’s Response to Debtors’ Objection to Proofs
                  of Claim filed by Celsius Network LLC and Its Affiliated Debtors [D.I. 22774, filed
                  on August 12, 2024]

         Related Documents:

         A.       The Official Committee of Unsecured Creditors’ Joinder to the Debtors’ Objection
                  to Proofs of Claim Filed by Celsius Network LLC and Its Affiliated Debtors
                  [D.I. 20292, filed on July 12, 2024]

         B.       Debtors’ (I) Reply to the Celsius Litigation Administrator’s Response to Debtors’
                  Objection to Proofs of Claim Filed by Celsius Network LLC and Its Affiliated
                  Debtors; and (II) Initial Objection to Late-Filed Proofs of Claim Filed by Celsius
                  Network LLC and Its Affiliated Debtors [D.I. 24408, filed on September 9, 2024]

         Status: This matter is going forward.

40.      Debtors’ Objection to Proofs of Claim Filed by Seth Melamed [D.I. 20051, filed on July
         10, 2024]

         Response Deadline: August 16, 2024 at 4:00 p.m. (ET)

         Responses Received:

         A.       Opposition to Debtors’ Objection to Proofs of Claim [D.I. 23170, filed on August
                  16, 2024]

         B.       Declaration of Takane Hori [D.I. 23171, filed on August 16, 2024]

         C.       Declaration of Seth Melamed in Support of Opposition to Debtors’ Objection to
                  Proofs of Claim [D.I. 23172, filed on August 16, 2024]

         D.       Corrected Declaration of Seth Melamed in Support of Opposition to Debtors’
                  Objection to Proofs of Claim [D.I. 23173, filed on August 17, 2024]




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         Related Documents:

         A.       Emergency Motion of Debtors for Entry of an Order (I) Adjourning Certain Matters
                  Set for Hearing on September 12, 2024 and (II) Extending the Deadline to File a
                  Reply [D.I. 24427, filed on September 9, 2024]

         B.       Declaration of Christopher J. Dunne in Support of Emergency Motion of Debtors
                  for Entry of an Order (I) Adjourning Certain Matters Set for Hearing on September
                  12, 2024 and (II) Extending the Deadline to File a Reply [D.I. 24428, filed on
                  September 9, 2024]

         C.       Motion for Entry of an Order Shortening the Time for the Emergency Motion of
                  the Debtors for Entry of an Order (I) Adjourning Certain Matters Set for Hearing
                  on September 12, 2024 and (II) Extending the Deadline to File a Reply [D.I. 24455,
                  filed on September 10, 2024]

         Status: This matter is going forward.

41.      Fifth Joint Motion of the Debtors and the Official Committee of Unsecured Creditors for
         an Order Authorizing the Movants to Redact or Withhold Certain Confidential Information
         of Customers [D.I. 23986, filed on August 28, 2024]

         Response Deadline: September 5, 2024 at 4:00 p.m.

         Responses Received:

         A.       Reservation of Rights of the United States Trustee to Debtors’ and Committee’s
                  Fifth Joint Motion to Redact or Withhold Certain Confidential Information of
                  Customers [D.I. 24268, filed on September 5, 2024]

         Related Documents: None.

         Status: This matter is going forward.

42.      Motion of Morris James LLP to Withdraw as Counsel to Genetic Networks LLC [Alameda
         Research Ltd., et al. v. Platform Life Sciences Inc., et al., Adv. No. 23-50444 (JTD) –
         Adv. D.I. 121, filed on August 21, 2024]

         Response Deadline: N/A

         Responses Received: None.

         Related Documents:

         A.       Certificate of No Objection Regarding Motion of Morris James LLP to Withdraw
                  as Counsel to Genetic Networks LLC [Alameda Research Ltd., et al. v. Platform



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                  Life Sciences Inc., et al., Adv. No. 23-50444 (JTD) – Adv. D.I. 122, filed on August
                  21, 2024]

         Status: This matter is going forward.

INTERIM FEE APPLICATIONS:

43.      Interim Fee Applications. See Exhibit A attached hereto.

         Response Deadline: August 13, 2024 at 4:00 p.m. (ET)

         Status: The Debtors intend to submit an omnibus fee order under certification of counsel
                 in advance of the hearing.

ORAL ARGUMENT:

44.      Defendants’ Motion to Stay Adversary Proceedings Nos. 23-50379 (JTD) and 23-50380
         (JTD) [Adv. D.I. 130 & 254, filed on August 23, 2024]

         Response Deadline: September 3, 2024 at 4:00 p.m. (ET)

         Responses Received:

         A.       Plaintiffs’ Memorandum of Law in Opposition to Defendants’ Motion to Stay
                  Adversary Proceedings [Adv. D.I. 133 & 257, filed on September 3, 2024]

         B.       Declaration of Matthew B. McGuire in Support of Plaintiffs’ Memorandum of Law
                  in Opposition to Defendants’ Motion to Stay Adversary Proceedings [Adv. D.I. 134
                  & 258, filed on September 3, 2024]

         Related Documents:

         A.       Order Granting Defendants’ Motion for Expedited Consideration of Defendants’
                  Motion to Stay Adversary Proceedings and Request for Oral Argument
                  [Adv. D.I. 132 & 256, entered on August 28, 2024]

         B.       Notice of Hearing on Defendants’ Motion to Stay [Adv. D.I. 135 & 259, filed on
                  September 4, 2024]

         C.       Defendants’ Reply for Motion to Stay Adversary Proceedings [Adv. D.I. 136 &
                  260, filed on September 6, 2024]

         Status: This matter is going forward.




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 Dated: September 10, 2024                LANDIS RATH & COBB LLP
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